Case: 4:91-cr-00001-CDP Doc. #: 397 Filed: 10/22/20 Page: 1 of 2 PageID #: 992




                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MISSOURI
                          EASTERN DIVISION


UNITED STATES OF AMERICA,              )
                                       )
                      Plaintiff,       )
                                       )   Case No. S1-91-00001CR(6)
v.                                     )
                                       )
RAYMOND AMERSON-BEY,                   )
                                       )
                     Defendant.        )



                         ENTRY OF APPEARANCE

     Assistant Federal Public Defender Brocca L. Morrison enters her

appearance as appointed counsel of record for the Defendant Raymond

Amerson-Bey replacing all counsel who have previously appeared on behalf

of the Defendant.



                                   Respectfully submitted,


                                   /s/Brocca L. Morrison
                                   BROCCA L. MORRISON         56093 MO
                                   Assistant Federal Public Defender
                                   1010 Market Street - Suite 200
                                   St. Louis, Missouri 63101
                                   Telephone 314-241-1255
                                   FAX: 314-421-3177
                                   E-Mail: Brocca_Smith@fd.org

                                   ATTORNEY FOR DEFENDANT
Case: 4:91-cr-00001-CDP Doc. #: 397 Filed: 10/22/20 Page: 2 of 2 PageID #: 993




                         CERTIFICATE OF SERVICE


I hereby certify that on 10/22/2020, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which will send notification
of such filing to the Office of the United States Attorney.




                                    /s/ Brocca L. Morrison
                                    BROCCA L. MORRISON        56093 MO
